Case 8:21-cv-01820-DKC Document 41-12 Filed 04/29/22 Page 1 of 4




                 EXHIBIT J
       Case 8:21-cv-01820-DKC Document 41-12 Filed 04/29/22 Page 2 of 4




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

CHRISTINE DE LEVA,

                   Plaintiff,

       v.                                          Case No. 8:21-cv-01820-DKC

LOWE’S COMPANIES, INC. and LOWE’S
HOME CENTERS, LLC,

                   Defendants.



                                DECLARATION OF SCOTT WILLIS

       I, Scott Willis, state as follows:

       1.      I make this Declaration of my own free will, based upon my personal knowledge

of the facts set forth below. I am over 18 years of age, and I am competent to make this

Declaration.

       2.      I have been employed by Lowe’s Home Centers, LLC (“Lowe’s”) as Store

Manager of the Frederick, Maryland store since September 2020. Plaintiff Christine De Leva

was employed as a ProServices Sales Specialist at the Frederick store at the time I took over as

Store Manager until her termination on March 29, 2021. Ms. De Leva did not express any

concern to me about her pay or pay rate in 2020.

       3.      On or about March 8, 2021, Ms. De Leva approached me and asked about her

upcoming annual merit increase later that month. In response, I told Ms. De Leva that I had

already completed the process of submitting recommended increases, and that I made sure she

received more than the standard 3% increase. During this conversation, Ms. De Leva did not

mention discrimination, gender / sex, or any other legally protected characteristic, and she did
        Case 8:21-cv-01820-DKC Document 41-12 Filed 04/29/22 Page 3 of 4




not mention a specific male employee or compare her pay to that of a male employee. She also

did not mention that she had complained about her pay to Lowe’s before I became the store

manager.

       4.      On March 8, 2021, Assistant Store Manager Terence Hopkinson informed me that

a customer had attempted to return some items and the Lowe’s system showed that the receipt

had already been refunded. He reported that he looked further into the issue and the video

surveillance system showed Ms. De Leva apparently refunding the sales transaction at issue to

herself earlier in the day.   I discussed with Mr. Hopkinson that we needed to report this

information to the Lowe’s Asset Protection team.

       5.      At some point prior to March 26, 2021, Senior Asset Protection Manager Chris

Dang informed me that he had uncovered additional instances of fraudulent cash returns by Ms.

De Leva and that he would be at the store on March 29, 2021 to interview Ms. De Leva as part of

his investigation.

       6.      On Friday, March 26, 2021, Ms. De Leva approached me and said that her annual

merit increase was not as much money as she wanted or words to that effect. I did not take

immediate action as I was aware that the Lowe’s Asset Protection team was investigating Ms. De

Leva’s conduct of fraudulent cash returns and that Mr. Dang was scheduled to meet with her the

next business day, Monday, March 29, 2021. I did not know how the conclusion of the Asset

Protection investigation might impact her employment. Thus, I told Ms. De Leva that we would

sit down the following week (week of March 29, 2021) to discuss the increase, or words to that

effect. During this conversation, Ms. De Leva did not mention discrimination, gender / sex, or

any other legally protected characteristic, and she did not mention a specific male employee or



                                              2
Case 8:21-cv-01820-DKC Document 41-12 Filed 04/29/22 Page 4 of 4
